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Fill in this information to identify the case:
Debtor name BPI SPORTS, LLC
United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                            Check if this is an
                                               FLORIDA
Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
HI-TECH             Thomas T.                       trade                                                                                                   $4,927,679.42
PHARMACEUTICAL McClendon, Esq.
S, INC.
6015-B Unity Dr     tmcclendon@jones
Norcross, GA        walden.com
30071-2955          404-564-9300
AVANTI                                              trade                                                                                                     $658,356.79
NUTRITIONAL LABS dgarcia@avantinut
14101 COMMMERCE rition.com
WAY                 (305) 822-3880
Miami Lakes, FL
33016
SDC NUTRITION                                       trade                                                                                                     $280,297.42
170 Industry Drive  ryans@sdcnutritio
Pittsburgh, PA      n.com
15275               (412) 275-3351
ATLANTIX                                            financial                                                                                                 $200,000.00
PARTNERS                                            consultants
800 CORPORATE       (954) 654-1759
DRIVE
SUITE 408
Fort Lauderdale, FL
33334
HILLYER LEGAL                                       legal                     Contingent                                                                      $189,862.88
PLLC                brogers@hillyerleg
5335 WISCONSIN      al.com
AVE, NW             (202) 686-2884
SUITE 440
Washington, DC
20015




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Debtor     BPI SPORTS, LLC                                                                          Case number (if known)
           Name

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                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
NEW ROCK                                            prepayment for            Contingent                                                                      $129,736.80
SPORTS                                              product not in
GARMENTS LLC              971-507-7861 ext.         inventory
Office No. 406-B,         6600
Baniyas Complex
Buildi
Opp. Baniyas,
Sequre Metro
Station
Deira, Dubai
UNITED ARAB
EMIRATES
VENABLE, LLP                                        legal                                                                                                     $129,150.52
750 E. PRATT ST           DSSilverman@Ven
SUITE 900                 able.com
Baltimore, MD 21202       (310) 229-0373
PRINT PARTNERS                                      trade                                                                                                     $106,377.00
LLC                       agraff@printpartne
1022 EULALIA Rd           rsatl.com
Atlanta, GA 30319         (404) 964-6698
CONTEMPORARY                                        brokers                                                                                                     $96,894.15
MARKETING, INC.           gimbrogno@conte
1569 BARCLAY              mpinc.com
BLVD                      (224) 507-7832
Buffalo Grove, IL
60089
CHERRY BEKAERT                                      professional                                                                                                $88,609.25
LLP
200 SOUTH 10TH ST         (804) 285-0892
SUITE 900
Richmond, VA
23219
AMERICAN MEDIA                                      marketing                 Disputed                                                                          $87,632.00
PO BOX 978504
Dallas, TX 75397
WORLDWIDE                                           freight                                                                                                     $69,214.96
EXPRESS                   collections@wwex.
2962 TRIVIUM              com
CIRCLE                    (484) 403-4924
STE 208
Fort Lauderdale, FL
33312
INFINITY WORLDS,          Stephanie Dake            marketing                 Disputed                                                                          $63,404.27
INC.
2106 S. 54TH ST.          stephanie.dake@in
STE 4                     finityworlds.com
Rogers, AR 72758          479-866-7659




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Debtor     BPI SPORTS, LLC                                                                          Case number (if known)
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                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
BRAND NUTRA                                         trade                                                                                                       $48,770.00
PACKAGING                 apollichino@brand
85 PRICE                  nutra.com
PARKWAY                   (631) 249-4811
Farmingdale, NY
11735
QUARLES & BRADY                                     legal                                                                                                       $45,676.89
LLP                       Yancy.Littler@quar
2 NORTH CENTRAL           les.com
AVE                       (602) 229-5582
Phoenix, AZ 85004
SPORTZIM LLC              C. Nikhil Shah            prepayment for            Contingent                                                                        $39,062.70
160 Nancy Ln                                        product not in
Wyckoff, NJ 07481                                   inventory
                     201-450-6423
PACIFIC TRIAL        Scott Ferrell, Esq.   Balance owed                                                                                                         $35,000.00
ATTORNEYS                                  under Confidential
Attn. Scott Ferrell, sferrell@pacifictrial Settlement
Esq.                 attorneys.com         Agreement and
4100 Newport Place 949-706-6464            Mutual Release
Suite 800                                  dated April 11,
Newport Beach, CA                          2023
92660
GLOBALTRANZ                                services                                                                                                             $30,900.00
ENTERPRISES, LLC o.moreno@globaltr
P.O. Box 203285      anz.com
Dallas, TX 75320     (786) 890-1886
WAYFLYER                                   Loan Agreement                                                                                                       $27,000.54
ADVANCES, LLC        mcanotices@wayfl dated May 9, 2023
746 Willoughby Way yer.com
Atlanta, GA 30312
ALONSO APPEALS                             legal                                                                                                                $22,358.55
15757 PINES          alonso@alonsoapp
BOULEVARD, SUITE eals.com
222                  (954) 667-8675
Pembroke Pines, FL
33027




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